                Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 1 of 13 PAGEID #: 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Ohio

                  United States of America                            )
                             v.                                       )
                                                                      )      Case No.     1:21-mj-981
                                                                      )
                       NYLISHA HILL
                                                                      )
                                                                      )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    October 12, 2021,              in the county of               Hamilton         in the
     Southern          District of               Ohio             , the defendant(s) violated:

            Code Section                                                        Offense Description

18 U.S.C. § 371                                   Conspiracy to Commit a Felony Offense Against the United States




         This criminal complaint is based on these facts:
See attached affidavit of ATF Special Agent Michelle Nelson




         ✔ Continued on the attached sheet.
         u



                                                                                                 Complainant’s signature

                                                                                       Michelle Nelson, Special Agent, ATF
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.
via FaceTime video

Date:    Dec 29, 2021
                                                                                                    Judge’s signature

City and state:                           Cincinnati, Ohio                        Hon. Karen L. Litkovitz, U.S. Magistrate Judge
                                                                                                  Printed name and title
   Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 2 of 13 PAGEID #: 2




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE CRIMINAL                       )
COMPLAINTS OF:                                      )
                                                    )       Case No. 1:21-mj-981
JERMAINE PULLEY and                                 )
NYLISHA HILL                                        )
                                                    )

                         AFFIDAVIT IN SUPPORT OF
                 CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Michelle Nelson, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives, being duly sworn, hereby depose and state as follows:

                   INTRODUCTION AND AGENT BACKGROUND

       1.     I submit this affidavit in support of criminal complaints and arrest warrants

against JERMAINE PULLEY and NYLISHA HILL for a violation of 18 U.S.C. § 371

(Conspiracy to Commit an Offense Against the United States).

       2.     I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), and have been so employed since July 2020. I graduated from the ATF

Special Agent Basic Training Academy in Glynco, Georgia, in October 2020.

       3.     In my career with ATF, I have been assigned to the Cincinnati Field Office in

the Southern Judicial District of Ohio. Prior to my employment with ATF, I was a member of

the United States Secret Service (USSS) in Washington D.C., where I served as a member of

the Uniformed Division under the Presidential Protective Division. I was employed in that

capacity from September of 2000 to 2004, and as a Crime Scene Technician from 2004 to

April 2007. From April 2007 to July 2020, I served as a Special Agent of the USSS, assigned

to the Cincinnati Field Office as well as USSS Headquarters, under the Protective Intelligence




                                              1
    Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 3 of 13 PAGEID #: 3




and Assessment Division. I took part in various criminal investigations during my tenure,

including investigations in which I reviewed the contents of suspects’ electronic devices. I

have received additional training in several areas of law enforcement, including but not

limited to narcotics interdiction and investigation and firearms interdiction and investigation. I

am also a graduate of the University of Texas where I received a bachelor’s degree in

Government in 2004.

       4.      The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other law enforcement officials and witnesses.

       5.      Because I am submitting this affidavit for the limited purpose of securing a

criminal complaint and arrest warrant, I have not included every fact that I know about this

investigation; I have set forth only those facts that I believe are necessary to establish

probable cause to believe that PULLEY and HILL, in violation of 18 U.S.C. § 371

(Conspiracy), conspired to violate 18 U.S.C. § 922(a)(6) (False Statement During Purchase of

Firearm).

                                     APPLICABLE LAW

       6.      To establish that a defendant, in violation of 18 U.S.C. § 371, conspired to

violate 18 U.S.C. § 922(a)(6) (False Statement During Purchase of a Firearm), the

government must show:

    a. First, that two or more persons conspired, or agreed, to commit the crime of False

        Statement During Purchase of a Firearm, that is:

              i.To knowingly make a false oral or written statement to a federally licensed

               firearms dealer;




                                                 2
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 4 of 13 PAGEID #: 4




                  ii.Where the false statement or misrepresented identification was made in

                     connection with the acquisition or attempted acquisition of a firearm; and

                 iii.Where the statement was intended or likely to deceive such firearms dealer

                     with respect to a fact material to the lawfulness of the sale of the firearm to the

                     defendant.

        b. Second, that the defendant knowingly and voluntarily joined the conspiracy; and

        c. Third, that a member of the conspiracy committed an overt act to effect the object of

        the conspiracy.


                                  STATEMENT OF PROBABLE CAUSE

       A. Introduction

       7.       ATF and the U.S. Attorney’s Office are investigating a suspected conspiracy to

make illegal straw purchases 1 of firearms involving NYLISHA HILL and JERMAINE PULLEY.

       8.       As I describe in more detail below, on October 12, 2021, HILL and PULLEY

visited a firearms dealer in the Cincinnati, OH, area, where HILL attempted to purchase firearms.

The attempted purchase was denied due to an employee’s suspicion that HILL was buying the

firearm for someone else. Less than an hour later, HILL and PULLEY went to another firearms

dealer, where HILL successfully purchased two firearms. After completing the purchase, HILL

left the store, but she returned minutes later and attempted to purchase two more pistols. This

time, the store denied the purchase due to suspicion that HILL was buying the firearms for

someone else.



   1
     The term “straw” purchase refers to a purchase in which the buyer, in violation of 18 U.S.C. § 922(a)(6),
   falsely represents to a Federal Firearms Licensee that he or she is purchasing a firearm for him- or herself, when
   in fact the firearm is being purchased for someone else.



                                                           3
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 5 of 13 PAGEID #: 5




       9.      A few weeks later, in November 2021, after PULLEY was charged with a

violation of his probation for a separate alleged offense, PULLEY’s probation officer, in

accordance with the terms of PULLEY’s probation, searched PULLEY’s phone. That search

revealed that the phone contained images of firearms, including one matching a firearm HILL

bought on October 12, 2021. The search also revealed images and messages showing that

PULLEY was offering multiple firearms for sale.

       B. On October 12, 2021, at around 10:26 a.m., HILL, with PULLEY, attempted to
          buy firearms from Shoot Point Blank – Cincy West.

       10.     Surveillance video shows that on October 12, 2021, at about 10:26 a.m., HILL,

accompanied by another unidentified woman (the “Unidentified Woman”) entered Shoot Point

Blank – Cincy West, located at 7266 Harrison Avenue, Cincinnati, OH 45247. Seconds later, two

men—one who is unidentified (the “Unidentified Man”), and another who was later identified as

PULLEY (as I explain below)—also entered the store.

       11.     In an interview on December 7, 2021, I discussed with an associate who was on

duty at Shoot Point Blank that day what he remembered about the transaction. I first showed the

associate the surveillance video to assist him with recalling the event. The associate said he

remembered that the woman in pink pants (later identified as HILL, as I explain below) had

entered the store with another woman and two men. The associate said the men had walked

around together and asked to look at different models of firearms, but that HILL and the other

woman did not look at any firearms or seem interested in them. The associate said HILL and a

man wearing blue (later identified as PULLEY, as I explain below) then remained in the store

while the other two left. According to the associate, HILL then told the associate she wanted to

purchase a firearm, and PULLEY said he was going to pay for it. The associate provided both

HILL and PULLEY with an ATF Form 4473 – Firearms Transaction Record.


                                                   4
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 6 of 13 PAGEID #: 6




       12.      Based on my training and experience, I know that, during the purchase of a firearm

from a Federal Firearms Licensee (FFL), the purchaser is required to provide identifying

information and is subject to an FBI National Instant Criminal Background Check System (NICS)

query. There are four possible outcomes of this query: Proceed, Delayed, Denied, and Cancelled.

“Proceed” authorizes the FFL to transfer the firearm to the purchaser. Delay commands the FFL

not to transfer the firearm until a determination is made on the FBI NICS check or (if no

determination is made) until three days have passed. “Denied” commands the FFL not to transfer

the firearm to the purchaser. “Cancelled” indicates that the proposed transaction has been

cancelled.

       13.      According to the associate, PULLEY objected to filling out the ATF Form 4473,

saying that it was not his firearm and that he was purchasing it for HILL. The associate said this

was suspicious to him because HILL had not participated in the shopping process and had not

looked at any firearms, including the one she had asked to purchase, before attempting to buy it.

The associate said he told HILL and PULLEY that since PULLEY was paying for the firearm,

PULLEY would have to fill out the ATF Form 4473. According to the associate, PULLEY asked

him why he needed to fill out the form, and the associate said he believed the sale to be a “straw”

purchase 2 and that it was a felony for HILL to purchase a firearm for PULLEY or anyone else.

The associate said he then told HILL and PULLEY that he was denying the sale due to

PULLEY’s refusal to fill out the form, at which point HILL and PULLEY left.


   2
     As noted above, the term “straw” purchase refers to the purchase of a firearm on behalf of someone else. The
   instructions to Question 21.a of the ATF Form 4473 – Firearms Transaction Record explain: “For purposes of
   this form, a person is the actual transferee/buyer if he/she is purchasing the firearm for him/herself or otherwise
   acquiring the firearm for him/herself (e.g., redeeming the firearm from pawn, retrieving it from consignment,
   firearm raffle winner). A person is also the actual transferee/buyer if he/she is legitimately purchasing the
   firearm as a bona fide gift for a third party. A gift is not bona fide if another person offered or gave the person
   completing this form money, service(s), or item(s) of value to acquire the firearm for him/her, or if the other
   person is prohibited by law from receiving or possessing the firearm.”



                                                            5
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 7 of 13 PAGEID #: 7




       C. About 35 minutes later, HILL, accompanied by PULLEY, bought two firearms
          from Shoot Point Blank in Blue Ash and then attempted to buy two more
          firearms.

       14.     Surveillance video shows that, at about 11:30 a.m. that same morning (about 35

minutes after they left Shoot Point Blank – Cincy West), HILL, PULLEY, and at least the

Unidentified Man arrived at Shoot Point Blank – Blue Ash, located at 10930 Deerfield Road,

Cincinnati, OH 45242, in a red Ford Mustang convertible.

       15.     The Unidentified Man got out of the front passenger seat of the car to allow HILL

to get out of the back seat of the two-door vehicle. Once HILL had gotten out, the Unidentified

Man got back into the front passenger seat. PULLEY, the driver, then got out of the car and met

HILL on the sidewalk behind the car.

       16.     The surveillance video shows that PULLEY then handed HILL an item that

appears to be a wad of U.S. currency. Below is a zoomed-in screenshot of the surveillance video

at the moment before PULLEY handed the suspected U.S. currency to HILL:




       17.     Surveillance video shows that, after HILL and PULLEY entered the store, they

began looking at the firearms on display.



                                                  6
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 8 of 13 PAGEID #: 8




       18.     Based on surveillance video, witness interviews, and my review of documentation

from Shoot Point Blank – Blue Ash, I know that, shortly after HILL and PULLEY entered the

store, an associate from Shoot Point Blank – Blue Ash gave HILL an ATF Form 4473 – Firearms

Transaction Record.

       19.     The surveillance video shows that, at about 11:56 a.m., HILL removed U.S.

currency from her left pant pocket and gave it to the sales associate. HILL then completed the

purchase of a Taurus Model G3C, 9mm caliber pistol bearing serial number ACJ242804, and a

Taurus Model G2C, 9mm caliber pistol bearing serial number ACH129427, for total price of

$614.44. A receipt related to this purchase shows that she paid with $620.00 in U.S. currency.

       20.     Surveillance video shows that, at about noon, HILL left the store by herself and

returned to the red Mustang. The Unidentified Male then got out of the front passenger seat and

allowed PULLEY to get into the back seat. A few minutes later, PULLEY came out of the store

and returned to the driver’s side of the Mustang, where he appeared to lean into, or sit in, the

vehicle, with the driver’s side door open.

       21.     A few minutes later, at about 12:07 p.m., the surveillance video captures the

Unidentified Male getting out of the front passenger seat and HILL getting out from the back

passenger seat. In the moment when she is getting out of the car, HILL can be seen holding an

item in her left hand. As HILL approaches the store, the surveillance video shows that the item in

her hand appears to be more U.S. currency, as shown below:




                                                    7
       Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 9 of 13 PAGEID #: 9




       22.     In an interview on December 3, 2021, an associate who was on duty at Shoot Point

Blank – Blue Ash on October 12, 2021, told me that, when HILL came back inside the store, she

tried to buy two more Taurus pistols. This time, the sales associates told HILL they were not

going to sell her any other firearms due to the suspicious nature of the purchase. Surveillance

video shows that HILL then went back to the Mustang, which departed at about 12:15 p.m.

       D. HILL represented on ATF Form 4473 that she was purchasing the firearm for
          herself, and not for another person.

       23.     On the ATF Form 4473 – Firearms Transaction Record that HILL completed on

October 12, 2021, HILL represented that she was purchasing the firearm for herself and not for

another person.

       24.     Specifically, Section 21.a of ATF Form 4473, which must be completed by the

purchaser of the firearm, asks: “Are you the actual transferee/buyer of the firearm(s) listed on this

form? Warning: You are not the actual transferee/buyer if you are acquiring the firearm(s) on

behalf of another person. If you are not the actual transferee/buyer, the licensee cannot transfer

the firearm(s) to you. Exception: If you are picking up a repaired firearm(s) for another person,




                                                    8
      Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 10 of 13 PAGEID #: 10




you are not required to answer 11.a and may proceed to 11.b. (See Instructions for Question

11.a.)” HILL answered this question by checking the box labeled, “Yes,” as pictured below:
    21. Answer the following questions by checking or marking either the '"yes·· or '"no·· box to the right of the questions:                     Yes No
    a. Are you the actual transferee/buyer of the fircarm(s) listed on this fonn and any continuation shect(s) (ATF Fonn 53 00.9A)?
        \Yarning: You arc not the actual trans-feree/buye.r if you are acquiring the fircarm(s) on behalf of arnother person. If you are
        not the actual transferee/buyer, the licensee cannot transfer the firearnt(s) to you. Exception: If you arc only pi.eking up a repaired
                                                                                                                                                  [y-'   'o
        fireann(s) for another person. you are not required to answer 21 .a. and may proceed to question 21.b.




         E. On October 28, 2021, PULLEY was arrested on an unrelated arrest warrant, and
            a probation search of his phone revealed evidence that he was trafficking
            firearms, including at least one of the firearms HILL bought.

         25.         On June 24, 2021, PULLEY was assigned to Community Control and directed to

report to the Hamilton County Probation Department (HCPD) in relation to Case Nos. B1802658-

1 through Case No. B1802658-5. That same day, PULLEY signed HCPD’s General Rules for

Probationers, which includes twelve detailed rules for the signing probationer to follow. Rule 3

states, “I will not own, possess, or carry a firearm or other lethal weapon.” Rule 9 states, “I am

subject to search in accordance with Ohio Revised Code Section 2951.02. The search includes,

but is not limited to, the search of my person, place of residence, motor vehicle, cell phone,

purses and other packages.”

         26.         On October 19, 2021, a warrant was issued for PULLEY’s arrest in relation to an

attempted theft allegedly committed by him on October 7, 2021.

         27.         On October 28, 2021, PULLEY was arrested by HCPD Probation Officer (PO)

Brandon Adams in relation to the outstanding arrest warrant. The same day, pursuant to Rule 9 of

HCPD’s General Rules for Probationers, PO Adams searched PULLEY’S cellphone.

         28.         During his search of the cellphone, PO Adams took pictures of images and text

communications related to firearms. PO Adams identified more than 15 images of firearms that it

appeared PULLEY was offering to sell to various individuals since approximately July 2021. For




                                                                                9
      Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 11 of 13 PAGEID #: 11




example, on October 12, 2021, at 2:24 p.m.—about two hours after HILL purchased the Taurus

firearms described above—PULLEY sent a message to someone that included a photograph of a

Taurus handgun in a box, writing: “G3 Taurus brand on the box,” as pictured below:

                                                        CALL AGAIN



                                                  G3 Taurus brand on the box

                                               OCT 12AT 224 PM




                                 All have fun licsesns now




                                             OCT 14 AT 9 01 PM        ••
                                 Bro you still got it


                            :: Cb ~ '.!,         Aa
                                                                     ••
       29.     As another example, at an unknown time, but before October 21, 2021, at 10:16

p.m., PULLEY sent to “Tae” an image that appears to depict a Taurus G3C pistol. As shown in

the second image below, the pistol appears to bear serial number ACJ242804—i.e., the serial

number of one of the firearms HILL purchased:




                                                         10
      Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 12 of 13 PAGEID #: 12




                                       E- •   Tae




                                              <
                                              GI




       F. PULLEY’s Probation Officer identified him as the person in blue in the
          surveillance footage.

       30.     PO Adams’s search of PULLEY’s phone was conducted as part of HCPD’s own

investigation. Later, HCPD provided the information about the photos of firearms on the phone,

as well as the phone itself, to ATF.

       31.     On December 7, 2021, ATF agents showed PO Adams a still photo from the

surveillance footage from outside Shoot Point Blank – Blue Ash. PO Adams said that the person

in the photograph who was wearing a blue shirt reading “Self Made” appeared to be PULLEY.

       G. Neither PULLEY nor HILL is, was, or has a pending application to be an FFL.

       32.     On December 7 and 9, 2021, Industry Operations Investigator Bill Halusek queried

the ATF Federal Licensing System to determine if HILL or PULLEY, respectively, is currently,

was previously, or has a pending application to become a Federal Firearms Licensee (including a

licensed importer, licensed manufacturer, licensed dealer, or licensed collector). The result of

both queries was negative.


                                                    11
      Case: 1:22-cr-00001-SJD Doc #: 1 Filed: 12/29/21 Page: 13 of 13 PAGEID #: 13




                                           CONCLUSION

       33.    Based on the foregoing, I respectfully request that the Court issue the proposed

criminal complaints and arrest warrants.


          12/29/2021
   Dated: _______________                              ______________________________
                                                       MICHELLE NELSON
                                                       Special Agent
                                                       Bureau of Alcohol, Tobacco, Firearms
                                                       and Explosives


   Sworn to before me this _____
                            29 day of December, 2021.


   ____________________________________
   HON. KAREN L. LITKOVITZ
   United States Magistrate Judge




                                                 12
